          Case 1:21-cr-00594-TSC Document 46 Filed 04/18/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,



         v.                                                    Criminal Action No. 21-594 (TSC)

 JOSHUA DILLON HAYNES,

                  Defendant.


                                              ORDER

       Pursuant to 18 U.S.C. § 3664(d)(5) and the reasons explained at Defendant’s February 2,

2023 sentencing hearing, the court shall conduct a restitution hearing in this matter on April 26,

2023 at 10:00 AM, in-person in Courtroom 9.

       Counsel for the Government and Defendant are hereby directed to file their memoranda

in support of their requested restitution amounts on or before April 24, 2023 at 5 PM. The

parties’ memoranda shall, for each identified victim, list their specific restitution requests broken

down by individual line-item (including processing fees or other administrative costs) and

provide a succinct reason explaining the requested restitution amount for each.

       The memoranda shall include, as an attachment, a table displaying the name of each

identified victim, their requests (including processing fees or other administrative costs), and the

amount requested. See Infra Table 1 for exemplar.

       The Probation Office is requested to provide its position in the same manner and format.


               Payee                          Amount                          Description

              Victim A                        $XX.xx
              Victim B                        $XX.xx

                                            Page 1 of 2
  Case 1:21-cr-00594-TSC Document 46 Filed 04/18/23 Page 2 of 2




   Victim C                  $XX.xx
    Total                    $XX.xx




Date: April 18, 2023

                                 Tanya S. Chutkan
                                 TANYA S. CHUTKAN
                                 United States District Judge




                            Page 2 of 2
